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                   EXHIBIT B
               VARGA DECLARATION
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

RITCHIE RISK-LINKED STRATEGIES,                        Case No. 18-11555 (KJC)
L.L.C,1

                   Debtor.


                 UNSWORN DECLARATION OF GEOFFREY VARGA
           IN SUPPORT OF APPLICATION OF THE DEBTOR IN POSSESSION
          FOR AN ORDER AUTHORIZING THE DEBTOR TO (I) EMPLOY AND
       RETAIN DUFF & PHELPS, LLC AND (II) DESIGNATE GEOFFREY VARGA
       AS CHIEF RESTRUCTURING OFFICER NUNC PRO TUNC TO JULY 24, 2018

          I, Geoffrey Varga, hereby declare as follows:

          1.       I am a Managing Director of Duff & Phelps, LLC’s (“D&P”) Disputes &

Investigations business unit and head of D&P’s Offshore Restructuring Practice with an office at

55 East 52nd Street, Floor 31, New York, NY 10055.

          2.       I submit this declaration (the “Declaration”) in support of the Application of the

Debtor in Possession for an Order Authorizing the Debtor to (I) Employ and Retain Duff &

Phelps, LLC and (II) Designate Geoffrey Varga as Chief Restructuring Officer Nunc Pro Tunc to

July 24, 2018 (the “Application”).2

          3.       Except as otherwise indicated herein, all facts set forth in this Declaration are

based upon my personal knowledge of the matters set forth herein. I am over eighteen (18) years

of age, and I am authorized to submit the Declaration on behalf of D&P. If called upon to

testify, I could and would competently testify to the facts set forth herein from my own personal

knowledge.


1
    The last four digits of the Debtor’s tax identification number are 0458.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them the Application.

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                                      QUALIFICATIONS

         4.    D&P is a global advisor in the areas of valuation, corporate finance,

investigations, disputes, cyber security, and compliance and regulatory matters. D&P works

with clients across diverse sectors, mitigating risk to assets, operations and people. Following

the recent acquisition of Kroll, D&P has nearly 3,500 professionals in 28 countries around the

world.

         5.    D&P also has considerable experience performing forensic financial analysis,

fraudulent conveyance and solvency analysis and other financial advisory related services. Such

services have been provided in bankruptcy proceedings in which D&P was retained, including

(without limitation) those matters listed below.

         6.    As noted, I am a Managing Director in D&P’s Governance, Risk, Investigations

and Disputes business unit and also the head of D&P’s Offshore Restructuring practice.

I assumed this role in January 2015 following D&P’s acquisition of Kinetic Partners, where

I was previously the global head of Kinetic Partner’s Corporate Recovery and Restructuring

practice, having built the practice from its inception in 2005. Prior to joining Kinetic Partners,

I was a Vice President within PwC’s Business Recovery Services group in Calgary, Alberta,

Canada.

         7.    I am a Canadian Chartered Accountant (since 1994) and hold a Canadian

Chartered Insolvency & Restructuring Professional designation, which I earned in 2004. I have

over 22 years of professional experience in insolvency, corporate recovery and restructuring

including, in the last 12 years, liquidating multiple distressed or insolvent offshore and onshore

funds and asset management structures. Engagements in which I have been involved have

generally concerned entities and/or assets domiciled in jurisdictions such as (a) the Caribbean,

(the Cayman Islands, the Bahamas and the British Virgin Islands); (b) the United States; and
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(c) Europe. I have been responsible for monetizing assets, including real estate, aircraft, private

equity investments, marketable securities, structured products and hedge fund and private equity

fund interests. My engagements have also required me to assist in the prosecution and defense

of large and complex litigation.

       8.        The following is a non-exhaustive list of engagements on which I have been

actively involved: Aramid Entertainment Fund, Ltd.; Soundview Elite Ltd. et al; Palm Beach

Offshore Ltd. / Palm Beach Offshore II Ltd. / Lancelot Investors Fund; Bear Stearns High-Grade

Structured Credit Strategies (Overseas) Ltd. and Bear Stearns High-Grade Structured Credit

Strategies Enhanced Leverage (Overseas) Ltd.; Spectrum Galaxy Fund Ltd.; Himelsein Mandel

Offshore Fund; Commonwealth Funds / Sand Springs Funds; Mariah Re Ltd.; Saad Investment

Finance Company (No. 5) Limited; Mezzanine Financing Ltd. / Consistent Return Ltd. /

Silverback Fund Ltd. / Nauticus Fund Ltd.; Ariel Fund Limited; Tarchon Fund of Funds SPC;

Security Capital Ltd.; ThreeAM SPC Ltd.; Parmalat Capital Finance Limited; and SPhinX

Strategy Fund.

       9.        Given D&P’s and Mr. Varga’s substantial experience, the Debtor retained D&P

for the provision of CRO and related services to the Debtor pursuant to an engagement letter

dated July 24, 2018 between D&P and the Debtor (the “CRO Engagement Letter”), a copy of

which is attached to the Application as Exhibit C.

       10.       The Retained Staff (as defined in the Application) and I have the skills,

qualifications, and expertise necessary to assist the Debtor and its case professionals with the

prosecution of this Chapter 11 Case in an efficient and cost-effective manner.

                             PROFESSIONAL COMPENSATION

       11.       D&P’s engagement is conditioned upon its ability to be retained in accordance

with its customary terms and conditions of employment, including the compensation
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arrangement set forth in the CRO Engagement Letter (the “Fee and Expense Structure”) as

summarized below.

       12.      The standard hourly rates charged for professionals anticipated to be assigned to

this Chapter 11 Case are as follows:

                      Engagement Staff                   Hourly Rate
                      Geoffrey Varga (CRO)               $895
                      Managing Director                  $695 - $895
                      Director or Vice President         $495 - $695
                      Associate to Senior Associate      $225 - $450
                      Analyst/Administrator              $125 - $225

Exh. C at 3.

       13.      With respect to this engagement, D&P has agreed that a cap of $35,000.00 will

apply to time billed in any calendar month. Exh. C at 3.

       14.      The Debtor also has agreed that it will reimburse D&P for all reasonable out-of-

pocket expenses incurred in connection with the engagement. Such out-of-pocket expenses shall

include, but are not limited to, all reasonable travel expenses, lodging and meals, pre-approved

computer and research charges, and any reasonable attorneys’ fees. Exh. C at 3.

       15.      The Debtor and D&P negotiated in good faith and agreed upon the Fee and

Expense Structure described above.       The Fee and Expense Structure is designed to fairly

compensate D&P for the work performed by me and the Retained Staff. The Fee and Expense

Structure is consistent with D&P’s normal and customary billing levels for cases of comparable

size and complexity cases, both in and out-of-court.

       16.      D&P may from time to time add or remove staff and D&P will file monthly

staffing reports that will reflect the Retained Personnel that provided services during the prior

month as provided in the Application.
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       17.     To ensure payment of D&P’s fees and expenses, D&P shall receive, upon the

Court’s approval of this Application, a $50,000.00 retainer (the “Retainer”) that, pursuant to the

terms and conditions of the CRO Engagement Letter, shall be used to cover any outstanding

unpaid invoices for services rendered upon conclusion of the engagement.

      D&P’S CONNECTIONS WITH THE DEBTOR AND PARTIES IN INTEREST

       18.     I am not related or connected to, and, to the best of my knowledge and

information, none of the members of the Retained Staff nor members of D&P are related or

connected to any judge of the United States Bankruptcy Court for the District of Delaware (the

“Bankruptcy Court”) or the office of the United States Trustee (the “U.S. Trustee”) or to any

employee in the office thereof.

       19.     In anticipation of its proposed retention, and as described herein, D&P searched

its client database to determine the existence of any client services provided by such employees

within the last two years to parties-in-interest (the “Interested Parties”) to any of the interested

parties on the list attached as Schedule 1 (the “Interested Parties List”)

       20.     Based on the searches described above, to the best of my knowledge and

information, after reasonable inquiry, except as set forth herein, D&P (a) does not have any

connection with the Debtor or its affiliates, its creditors, or any other Interested Parties; (b) do

not hold or represent any interest adverse to the Debtor’s estate or any class of creditors or equity

security holders, by reason of any direct or indirect relationship to, connection with, or interest in

the Debtor; (c) are not and have not been a creditor, an equity security holder or an insider of the

Debtor; and (d) are not and have not been, within two years before the Petition Date, a director,

officer or employee of the Debtor.

       21.     D&P has disclosed to the Debtor that I currently serve as the Official Liquidator

of Lancelot Investors Fund Ltd. (“Lancelot Offshore”) in connection with Lancelot Offshore’s
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chapter 7 bankruptcy case, pending in the United States Bankruptcy Court for the Northern

District of Illinois. Ritchie Capital Management, L.L.C., Ritchie Capital Management SEZC

Ltd., and other affiliated entities (but not the Debtor) are adverse to the Lancelot Offshore estate

and have competing interests with Lancelot in the Chapter 11 bankruptcy proceeding of Petters

Company, Inc. and its affiliated debtors, pending in the United States Bankruptcy Court for the

District of Minnesota.

       22.     D&P also disclosed to the Debtor that D&P (and Kroll) and its principals and

employees (including Mr. Varga) have worked or continues to work with the Debtor’s proposed

bankruptcy counsel, Reed Smith LLP (“Reed Smith”), in multiple unrelated matters. Those

matters involve D&P’s retention by Reed Smith in respect of litigation support, expert testimony

or as a financial advisor on behalf of its clients and matters where Reed Smith served as counsel

to D&P or me. By way of illustration, Kurt F. Gwynne of Reed Smith represented Aramid

Entertainment Fund Ltd. (“AEF”), a chapter 11 debtor in possession and now reorganized debtor,

in the United States Bankruptcy Court for the Southern District of New York. I served as joint

voluntary liquidator and plan trustee for AEF and the “Aramid Distribution Trust.” Reed Smith

represented AEF and represents the Aramid Distribution Trust. In addition, in my capacity as

the Official Liquidator of Lancelot Offshore in connection with its chapter 7 bankruptcy, I am

represented by Reed Smith. Further, (i) Mark Longbottom (also of D&P) and I, in our capacities

as Joint Official Liquidators of Palm Beach Offshore, Ltd. and Palm Beach Offshore II, Ltd.; and

(ii) I, in my capacity as Liquidating Trust Monitor, had previously retained Reed Smith in

connection with the jointly-administered cases captioned In re: Palm Beach Finance Partners,

L.P., et al., (Case No.: 09-36379-PGJ) pending in the United States Bankruptcy Court Southern




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District of Florida, West Palm Beach Division. I am not currently represented by Reed Smith in

the Palm Beach matters.

       23.      D&P and its affiliates may have previously served, or currently serve, and will

likely serve in the future, certain of the Debtor’s creditors, affiliates of the Debtor’s creditors,

professionals, and other parties in interest in matters unrelated to the Debtor or this Chapter 11

Case, and has provided related information in the Declaration. D&P continues to work with/for

creditor McGuire Woods LLP, providing litigation support and expert testimony in connection

with matters unrelated to the Debtor or this Chapter 11 Case.

       24.      Since members of D&P serve clients across a broad range of industries, functions,

and geographies, members of D&P may have in the past provided services for, and may in the

future provide services for entities that are determined to be creditors, lenders, shareholders,

insurers, customers, competitors, vendors, contract counterparties of the Debtor or other

Interested Parties in unrelated matters.

       25.      Similarly, members of D&P may have business associations with certain of the

Debtor’s creditors, professionals, service providers or other Interested Parties, or interests

adverse to such creditors, professionals, service providers or Interested Parties herein, which

associations to the best of my knowledge and information have no connection with these

proceedings.

       26.      In accordance with section 504 of the Bankruptcy Code and Bankruptcy Rule

2016, neither I nor D&P has entered into any agreements, express or implied, with any other

party in interest, including the Debtor, any creditor, or any attorney for such party in interest in

this Chapter 11 Case.




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           POTENTIAL PARTIES IN INTEREST
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                                         Interested Parties

Debtor:                                              Grasso Bass
Ritchie Risk-Linked Strategies, L.L.C.               Huizenga Managers Fund, LLC
                                                     Kroll Discovery
Debtor’s Managing Member                             Law Office of Jeffrey Crane LLC
Ritchie Partners, L.L.C.                             Mack Law Group
                                                     McGuire Woods LLP
Owner of 5% or More of Equity in the                 Regus Group Companies
Debtor
                                                     Special Solutions, Ltd.
Ritchie Multi-Strategy Global, LLC
                                                     Valterra Holdings, LLC
Managing Member’s Officer
Michael Cilento                                      United States Trustee's Office
                                                     Andy Vara
Manager of Debtor’s Managing Member                  Thomas Patrick Tinker
Ritchie Capital Management, L.L.C.                   Lauren Attix
                                                     David Buchbinder
Pre-Petition and Potential Post-Petition             Linda Casey
Lender                                               Holly Dice
Ritchie Multi-Strategy Global Trading, Ltd.          Shakima L. Dortch
                                                     Timothy J. Fox, Jr.
Adverse Parties to Litigation                        Diane Giordano
Huizenga Managers Fund, LLC                          Christine Green
Arch Specialty Insurance Co.                         Benjamin Hackman
Continental Casualty                                 Jeffrey Heck
                                                     Brya Keilson
Co-Defendants in Prepetition Litigation              Mark Kenney
A.R. Thane Ritchie                                   Jane Leamy
Ritchie Partners, L.L.C.                             Hannah M. McCollum
Ritchie Capital Management, L.L.C.                   James R. O'Malley
Ritchie Capital Management SEZC, Ltd.                Michael Panacio
Arch Specialty Insurance Co.                         Juliet Sarkessian
Continental Casualty                                 Richard Schepacarter
                                                     Edith A. Serrano
Prepetition Replacement Counsel                      Karen Starr
Swanson Martin & Bell LLP                            Ramona Vinson
                                                     Jaclyn Weissgerber
Debtor’s Twenty (20) Largest Non-                    Michael West
Insider Unsecured Creditors                          Dion Wynn
Arch Specialty Insurance Co.
Clayborne Wagner Sabo
Continental Casualty
Elias Gutzler Spicer
Fernandes, Frank
Global Intelligence Consultants, Inc.
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Bankruptcy Judges
Kevin J. Carey
Kevin Gross
Brendan L. Shannon
Laurie Selber Silverstein
Christopher S. Sontchi
Mary F. Walrath

Debtor’s Professionals
Potter Anderson & Corroon, P.A
Reed Smith LLP




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